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                                Nos. 23-35440, 23-35450
                IN THE UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT

                          UNITED STATES OF AMERICA,

                                                Plaintiff-Appellee,
                                          v.
                                    STATE OF IDAHO,
                                                Defendant-Appellant,
                                          v.
  MIKE MOYLE, Speaker of the Idaho House of Representatives; CHUCK
WINDER, President Pro Tempore of the Idaho Senate; THE SIXTY-SEVENTH
      IDAHO LEGISLATURE, Proposed Intervenor-Defendants,
                                                Movants-Appellants.

                   On Appeal from the United States District Court
                              for the District of Idaho

               UNITED STATES’S RESPONSE
TO IDAHO LEGISLATURE’S EMERGENCY MOTION TO EXPEDITE


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      This consolidated appeal concerns a preliminary injunction that issued on August

24, 2022. On September 28, 2023, a motions panel of this Court granted the Idaho

Legislature’s motion for a stay pending appeal; on October 10, the Court ordered that

the matter be reheard en banc and vacated the stay. No. 23-35440, Dkt. 69.

      After waiting nearly a year to seek a stay, the Legislature now requests an expe-

dited en banc decision on its stay motion by November 15. Dkt. 71. In seeking expedited

review, the Legislature repeats its arguments regarding the stay factors articulated in

Nken v. Holder, 556 U.S. 418, 434 (2009).

      The United States takes no position on the timing of an en banc decision and does

not object to expedited treatment of the Legislature’s motion for a stay pending appeal.

The government, however, disputes the Legislature’s renewed assertions of irreparable

harm and entitlement to interim relief. As explained in our briefs in the underlying ap-

peal (Dkt. 35) and concerning the Legislature’s stay request (Dkts. 33, 53, 65-2), the

Legislature cannot make any of the showings that Nken requires. The motion for a stay

pending appeal should be denied.
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                                            Respectfully submitted,

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November 2023
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                      STATEMENT OF RELATED CASES

      Pursuant to Ninth Circuit Rule 28-2.6, appellee states that it knows of one case

related to the above-captioned consolidated appeals: Case No. 23-35153. That appeal

arises from the district court’s partial grant of intervention issued during the proceed-

ings below.

                                                 s/ Nicholas S. Crown
                                                Nicholas S. Crown
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                       CERTIFICATE OF COMPLIANCE

      This filing complies with the type-volume limitation of Ninth Circuit Rules 27-1

and 32-3 because it contains 192 words. This filing also complies with the typeface and

type-style requirements of Federal Rule of Appellate Procedure 27 because it was pre-

pared using Word for Microsoft 365 in Garamond 14-point font, a proportionally

spaced typeface.



                                                s/ Nicholas S. Crown
                                               Nicholas S. Crown
